      Case 4:21-cv-00053-SHL-HCA Document 263 Filed 09/09/24 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA

CIERRA DUNN ET AL.,                                    CASE NO. 4:21-CV-00053-SHL-HCA

                       Plaintiffs
                       ,                                   ORDER CANCELING ALL
        vs.                                              DEADLINES AND HEARINGS
                                                        AND FOR CLOSING DOCUMENTS
JOHN DOES 1-22, ET AL.,

                       Defendants.



       The parties reached a settlement agreement on September 6, 2024. Accordingly, all

deadlines and hearings are canceled.

       Closing documents shall be filed by October 16, 2024. If no closing documents are filed,

pursuant to Local Rule 41(c) the Court may order dismissal of this action without further notice.

Within 60 days of a dismissal order, either party may petition to have the case reinstated after

showing good cause as to why settlement was not in fact consummated.

       IT IS SO ORDERED.

       DATED September 9, 2024.




                                                   William P. Kelly
                                                   UNITED STATES MAGISTRATE JUDGE
